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AO 440 (Rev. 06/12) Summons in a Civil Action

 

 

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

DEVERY DAVIS and CLIFTON HUMPHREY,
INDIVIDUALLY AND ON BEHALF OF ALL OTHERS
SIMILARLY SITUATED,

 

Plaintiff(s)

Vv. Civil Action No. 4:20-cv-00724

FIVE OAKS ACHIEVEMENT CENTER, LLC,
WHISPERING HILLS ACHIEVEMENT CENTER,
LLC, and NORTH FORK EDUCATIONAL
CENTER, LLC

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) North Fork Educational Cenier, LLC
c/o Registered Agent, Deborah O. Voyles
5620 FM 359 Road
Richmond, Texas 77406-9606, or wherever she may be found

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Mickey L. Washington and Kimberly R. Bennett

Washington & Associates, PLLC

2019 Wichita Street

Houston, Texas 77004

Telephone No. 713.225.1838 / Facsimile No. 713.225.1866

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

David J. Bradley, Clerk of Court

Date: May 20, 2020 ou x3

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s/ RA Limon

 

Signature of Clerk or Deputy Clerk

 

 

 
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

 

Civil Action No. 4:20-cv-00724

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

was received by me on (date)

This summons for (name of individual and title, if any) hs DVALL / Mey ei fi. sh hy inal J hyo)
Wh [2i20

C1 I personally served the su summons on the individual at (place) Mb 0 Ay iy oe g ol
£ chino, he. 7406 on dae) B62 [Pgd/) i

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

Cl I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

=

 

 

 

on (date) ; Or
© Treturned the summons unexecuted because 3 or
CF] Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

hel

LHD
Se ’s signature

hw Meuse

Printed 7 and title

 

Date:

HAS 2) sf bn tha sir, Ii WH

Server’ Sa ddress

Additional information regarding attempted service, etc:

i oe is

 
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CAUSE NO. 4:20-cv-00724

DEVERY DAVIS and CLIFTON HUMPHREY, § IN THE COURT OF
INDIVIDUALLY AND ON BEHALF OF ALL OTHERS §
SIMILARLY SITUATED,
Plaintiff, §
VS. 8 HARRIS COUNTY, TEXAS
§
FIVE OAKS ACHIEVEMENT CENTER, LLC, WHISPERING §

HILLS ACHIEVEMENT CENTER, LLC, and NORTH FORK
EDUCATIONAL CENTER, LLC
Defendant. 8 UNITED STATE DISTRICT COURT FOR THE SOUTHERN
DISTRICT OF TEXAS

AFFIDAVIT OF SERVICE

 

"The following came to hand on Jul 1, 2020, 4:09 pm,
SUMMONS INA CIVIL ACTION,

and was executed at 3200 HOLMES RD, RICHMOND, TX 77406 within the county of FORT BEND at 06:47 PM on Thu, Jul
02 2020, by delivering a true copy to the within named

NORTH FORK EDUCATIONAL CENTER, LLC C/O REEGISTERED AGENT, DEBORAH O. VOYLES
in person, having first endorsed the date of delivery on same.

|am a person over eighteen (18) years of age and | am competent to make this affidavit. | am a resident of the State of
Texas. | am familiar with the Texas Rules of Civil Procedure as they apply to service of Process. | am not a party to this
suit nor related or affiliated with any herein, and have no interest in the outcome of the suit. | have never been convicted
of a felony or of a misdemeanor involving moral turpitude. | have personal knowledge of the facts stated herein and they
are true and correct."

My name is Darren Hausey, my date of birth is 7/11/1963, and my address is 448 W. 19th St. 243, Houston, Tx. 77008,
and United States of America. | declare under penalty of perjury that the foregoing is true and correct.

Executed in Harris County, State of TX, on July 03, 2020. f
At "), e Wy

‘Da en Hausey

Certification Number: P.
Certification Expiration: 11/20/2021

 
  
 

 

 
